USDC IN/ND case 4:18-cv-00072-PPS                   document 259    filed 10/24/24     page 1 of 2



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                        LAFAYETTE DIVISION AT HAMMOND

JANE DOE,                                       )
     Plaintiff,                                 )
                                                )
v.                                              )       CASE NO. 4:18-CV-72
                                                )
PURDUE UNIVERSITY,                              )
    Defendant.                                  )
                                                )


                  JOINT MOTION TO EXTEND DISMISSAL DEADLINE

       Come now the parties, by and through counsel, and respectfully request that the Court

extend the deadline to file dismissal papers to and including November 29, 2024, and in support

thereof, state as follows:

       1.      On September 30, 2024, the Plaintiff gave notice to the Court that the parties have

reached a settlement (Doc 257).

       2.      On October 1, 2024, the Court entered an Order confirming the parties have reached

a settlement (Doc 258).

       2.      Pursuant to the October 1, 2024 Order, the Parties were to file their Stipulation for

Dismissal by October 29, 2024.

       4.      The parties are working to complete the process of exchanging the settlement

documents, and are waiting for the payment of settlement proceeds.

       5.      The parties require an extension to and including November 29, 2024, to complete

the settlement and file the dismissal papers.

       6.      No party to this action will be prejudiced if the Court grants the requested extension

of time.



                                                    1
USDC IN/ND case 4:18-cv-00072-PPS             document 259        filed 10/24/24      page 2 of 2



       WHEREFORE, the parties, by and through counsel, respectfully request the Court to

extend the deadline to file dismissal papers to and including November 29, 2024.



Respectfully submitted,


 /s/ C. Anthony Ashford                            /s/ Trenton D. Klingerman
 C. Anthony Ashford                                Trenton D. Klingerman
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 Attorney for Plaintiff                            Attorney for Defendant




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 24, 2024, a copy of the foregoing was
served on the following via the court’s electronic filing system:

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